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                    UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION


 UNITED STATES OF AMERICA,                     Case No. 22-11191
                    Plaintiff,
 v.                                            Gershwin A. Drain
                                               United States District Judge
 EES COKE BATTERY, LLC;
 DTE ENERGY SERVICES, INC.;                    Curtis Ivy, Jr.
 DTE ENERGY CO.; and DTE                       United States Magistrate Judge
 ENERGY RESOURCES, LLC,
                    Defendants.
 ____________________________/


  OMNIBUS OPINION AND ORDER ON ECF Nos. 145, 156, 158, 161, 164,
                    165, 166, 221, and 269

       Several motions to exclude expert testimony were referred to the

 undersigned. Defendants’ motion to seal was also referred. The Court heard

 argument on the motions on May 28, 2025.

       For the reasons below,

    • Defendants’ Motion to Exclude Galinsky at ECF No. 145 is GRANTED IN
      PART to preclude Galinsky from testifying in rebuttal to Mr. van der Poel;

    • Defendants’ Motion to Exclude Galinsky at ECF No. 156 is DENIED;

    • Defendants’ Motion to Exclude Chinkin in part at ECF No. 164 is
      GRANTED IN PART to strike the HYSPLIT opinions in the rebuttal
      report;

    • The government’s motion to strike the new argument in two of Defendants’
      reply briefs (ECF No. 221) is GRANTED;
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      • Defendants’ Motion to Strike Dr. Schwartz at ECF No. 166) is GRANTED
        IN PART; only the opinions on years 2023-2028 in the rebuttal report are
        stricken;

      • The government’s Motion to Strike Dr. Kelly at ECF No. 165 is DENIED;

      • Sierra Club’s Motion to Strike Dr. Kelly at ECF No. 158 is DENIED AS
        MOOT;

      • The government’s Motion to Strike Leahy at ECF No. 161 is GRANTED;

      • Defendants’ Motion to Seal at ECF No. 269 is GRANTED.1

 A.      Defendants’ Motions to exclude the 2d and 3d disclosures from United
         States’ Expert Virginia Galinsky (ECF Nos. 145, 156)

         Ms. Galinsky is an environmental engineer at the Environmental Protection

 Agency who has been involved in the enforcement action against Defendants since

 its inception. She was deposed twice, once as a fact witness and once as the EPA’s

 Rule 30(b)(6) corporate representative. After those depositions, the United States

 designated Galinsky as a non-retained employee expert witness under Fed. R. Civ.

 P. 26(b)(2)(C) on April 29, 2024, its deadline for expert disclosures. The

 government served a second disclosure from Galinsky on November 25, 2024, the

 date rebuttal reports were due, that included opinions not addressed in the first


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           Several documents cited in this Order are the subject of the motion to seal. This Order,
 however, cites to those documents as originally filed, not as newly filed on May 12, 2025. To
 avoid delaying resolution of the motions to exclude any further, the Court is not adjusting the
 citations to the newly filed documents. The parties and the public now have adequate access to
 all the documents relevant to this Order and are able to understand the bases for the
 determinations.
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 disclosure. On December 18, 2024, it served Galinsky’s third disclosure with

 additional opinions.

       Given the timing and subject matter of the second and third disclosures, the

 impetus for them appears to be the Court’s Order striking the government’s experts

 Mr. Benson and Dr. Sahu. (ECF No. 191). To state it simply, those would-be

 experts opined on Best Available Control Technology (“BACT”) and Lowest

 Achievable Emission Rate (“LAER”) at EES Coke. Galinsky opines on BACT

 and LAER in her later disclosures.

       Defendants bring two motions to exclude Galinsky’s second and third

 disclosures. The first motion contests whether Galinsky can rightly be considered

 a non-retained expert witness who need not provide an in-depth expert report under

 Rule 26(a)(2)(B). (ECF No. 145). The second motion challenges her qualification

 to opine on the areas addressed in the second and third disclosures, as well as the

 reliability of her analyses. (ECF No. 156).

       1.     Galinsky’s Designation as a Non-Retained Expert

       Defendants insist that Galinsky’s opinions in the second and third

 disclosures were not formed as part of her normal job responsibilities, so she was

 acting as a retained expert. (ECF No. 145, PageID.4997-98). Thus, they argue

 that Galinsky was required to provide detailed disclosures required of retained

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 experts under Rule 26(a)(2)(B) (a “(2)(B)” report) rather than the summary report

 required for non-retained experts under Rule 26(a)(2)(C) (a “(2)(C)” report). (Id.

 at PageID.5000).

       The United States argues that Galinsky’s work duties “include developing

 and supporting enforcement actions brought on behalf of EPA.” (ECF No. 148,

 PageID.5191). Given the nature of her work, the government insists that there is

 no practical way to parse opinions formed as part of the job from those formed for

 purposes of the litigation. (Id. at PageID.5191-92). In other words, supporting the

 EPA’s litigation efforts is her job. But, at the hearing, counsel confirmed that this

 is the first time Galinsky has reviewed opposing expert reports and drafted rebuttal

 opinions. Still, counsel said that environmental engineers at the EPA have, in

 other enforcement actions, reviewed opposition expert reports and provided

 testimony in rebuttal to them.

       If an expert witness is “retained or specially employed to provide expert

 testimony in the case or . . . whose duties as the party’s employee regularly involve

 giving expert testimony,” then the expert disclosure must include a host of

 information including a complete statement of all the opinions and the grounds for

 them. Fed. R. Civ. P. 26(a)(2)(B)(i-vi). A non-retained expert or an employee




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 whose duties do not regularly involve giving expert testimony need only provide a

 summary of the facts and opinions. Fed. R. Civ. P. 26(a)(2)(C)(i-ii).

       As explained in the Court’s order on other motions to exclude experts (ECF

 No. 259), Rule 26(a)(2)(C) applies to “hybrid witnesses,” i.e., fact witnesses who

 can also provide expert testimony. Call v. City of Riverside, 2014 WL 2048194, at

 *3 (S.D. Ohio May 19, 2014). A common example of a hybrid witness is a

 treating physician. Physicians are experts because of their education, training, and

 experience. They can also be fact witnesses when testifying about the care they

 provided to a patient. Fielden v. CSX Transp., Inc., 482 F.3d 866, 870-71 (6th Cir.

 2007) (holding that no (2)(B) report required for treating physician who would

 give expert testimony about causation learned by providing treatment). When they

 testify about the facts through their expert lens, they are acting as a hybrid witness.

 “Put another way, [hybrid witness] testimony arises not from . . . enlistment as an

 expert but, rather, from . . . ground-level involvement in the events giving rise to

 the litigation.” Downey v. Bob’s Disc. Furniture Holdings, Inc., 633 F.3d 1, 6 (1st

 Cir. 2011) (citing id. at 869).

       Deciding Galinsky’s status is not as straight forward as it often is when

 treating physician testimony is involved because of the nature of her job. There is




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 not always a clear line between supporting an enforcement action as an employee

 and supporting a party in an enforcement action as a retained expert.

       The Court has some guideposts. In determining whether Galinsky should be

 considered a retained expert witness or a hybrid, non-retained witness, the focus is

 on the substance of her opinions, not her status as an employee. Mohney v. USA

 Hockey, Inc., 300 F. Supp. 2d 556, 560 (N.D. Ohio 2004) (“[T]he application of

 the Rule 26 disclosure requirements depends on the substance of the treating

 physician’s testimony rather than his or her status.”) (quoting Hawkins v.

 Graceland, 210 F.R.D. 210, 211 (W.D. Tenn. 2002)); Fielden, 482 F.3d at 871

 (“The determinative issue is the scope of the proposed testimony.”) (citation

 omitted). If the scope of the expert’s testimony strays from the “core” of their job,

 then a (2)(B) report will be required. Fielden, 482 F.3d at 870. Another factor to

 consider is the kinds of documents or evidence the expert reviewed in developing

 their opinions. A witness acts like a retained expert when they review materials

 that they do not rely on in the ordinary course of their employment. Id. at 872. If

 “the facts which form the basis for [an expert’s] opinions derive from information

 learned during the [ordinary course of the job]—as opposed to being subsequently

 supplied by an attorney,” then no (2)(B) report is required. Mohney, 300 F. Supp.

 2d at 560 (quoting Sullivan v. Glock, Inc., 175 F.R.D. 497, 501 (D. Md. 1997)).

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       The best place to start is to compare the scope and substance of Galinsky’s

 first disclosure, which Defendants do not challenge, with her second and third

 disclosures. Because the first disclosure is not challenged, the Court assumes that

 the scope of that disclosure is permissible (2)(C) expert opinion. The first

 disclosure covers two topics: permitting history and mitigation of excess

 omissions. Galinsky opines that the changes in emissions following the 2014

 permit are a “major modification.” (ECF No. 145-6, PageID.5034-35). She then

 addresses several ways EES Coke could mitigate excess omissions, including

 reducing sulfur dioxide (SO2) beyond what is necessary to comply with BACT and

 LAER and reducing emissions from outside sources. (Id. at PageID.5035-36). She

 addresses the same two topics in the second disclosure but expands on them. She

 discusses emissions changes following the permit including what regulations apply

 to the permit and whether changing certain phrasing in the permit would have

 prevented the enforcement action, and she opines on how Defendants’ expert Mr.

 Campbell’s permit-related analyses are flawed. (ECF No. 144-3, PageID.4957-

 62). Galinsky then addresses her opinion that installation of BACT and LAER are

 required for pollution control and the data that informs the BACT/LAER analyses.

 She also discussed other mitigation options. (Id. at PageID.4962-71). The third

 disclosure only touches on mitigation. She discusses the determination of BACT

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 and LAER in rebuttal to Defendants’ experts Mr. van der Poel and Mr. Saini,

 including the effect of compliance with LAER. (ECF No. 144-4, PageID.4974-

 76).

        The only substantive difference between the first disclosure and second and

 third disclosures is the addition of discussion to rebut one or more of Defendants’

 experts. The topics and general substance are the same throughout the opinions.

 The scope of all three sets of opinions matches the scope of her employment—an

 environmental engineer who participates in and supports Clean Air Act

 enforcement actions. Attached to that response brief is a new declaration from

 Galinsky wherein she describes her job responsibilities. She says her job

 responsibilities include:

           • Identifying sources of potential violations
           • Conducting inspections
           • Drafting and reviewing Clean Air Act Section 114 information
             requests
           • Reviewing and analyzing case files
           • Drafting Notices of Violation
           • Undertaking discussions and negotiations regarding resolution of
             enforcement actions, and
           • Drafting documents to memorialize the resolutions

 (ECF No. 186-1, PageID.13379-80, at ¶ 2). She adds that, to resolve an

 enforcement action, the “case team” determines what injunctive relief is necessary

 to return the source to compliance and what penalty is appropriate to resolve the

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 violations. That injunctive relief should, according to Galinsky, at minimum

 require BACT and LAER, depending on the case. (Id. at PageID.13380, ¶ 3).

 “[T]herefore, as a normal course of an action in [a New Source Review]

 enforcement case, [she] would determine what BACT or LAER would likely be by

 following” the “top-down” process from a 1990 EPA manual or any state guidance

 on implementing new source review. (Id. at PageID.13380-81, ¶ 4).

       The work she did to form the opinions in the second and third disclosures

 appears to be the same kind of work she would do even if this litigation did not

 exist, except for the addition of addressing Defendants’ experts’ reports within her

 opinions. Even there, addressing or rebutting a facility’s experts who oppose the

 enforcement action fits the bill of “supporting enforcement actions.”

       The documents Galinsky reviewed while crafting her opinions appear to be

 the kind of documents EPA environmental engineers typically review in

 enforcement actions. In the last paragraph of the declaration, she states, “As part

 of my work on the EES Coke enforcement case, which began in 2017, I have

 reviewed thousands of documents.” (ECF No. 186-1, PageID.13382, ¶ 9). No

 specificity was given on the kinds of documents she reviewed, though it appears




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 that at least some of those documents were obtained through discovery in this

 litigation. 2 Obviously, included in these are Defendants’ experts’ disclosures.

        In the context of a treating physician testifying as an expert, (2)(B) expert

 disclosures are usually required when the physician reviews documents supplied

 by counsel to assist in forming an opinion. In Mahoney, for instance, the

 physician’s opinions drawn from watching video of the accident after treating the

 plaintiff were excluded because the physician did not submit a (2)(B) report. 138

 F. App’x at 810. “There [was] no evidence that [the physician] reached the same

 conclusions regarding causation at the time he treated [the plaintiff].” Id. at 811.

 In Adkins v. Marathon Petroleum Co. LP, 105 F.4th 841 (6th Cir. 2024), a

 physician’s (2)(C) report was stricken after finding that he acted as a retained

 expert rather than a hybrid witness. The physician did not assess the plaintiff until

 months after the plaintiff filed the lawsuit. The plaintiff visited the physician at the

 request of counsel, sometimes with counsel present, and counsel paid for the office

 visits. Id. at 849. And the physician reviewed documents provided by the

 plaintiff’s attorney, which meant that the opinions were not formed in the ordinary

 course of treatment. Adkins v. Marathon Petroleum Co. LP, 672 F. Supp. 3d 483,


        2
          The EPA received what is likely a large number of documents in response to its
 information request issued April 12, 2018. Documents in response to that request included
 emissions data and permitting documents. (ECF No. 9-2, PageID.114-15, First Galinsky
 Declaration).
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 511 (S.D. Ohio 2023). These facts led to the conclusion that the doctor assessed

 the plaintiff and formed causation opinions at the request of counsel for the

 litigation. For these reasons, the court affirmed that the physician was retained for

 litigation purposes and was required to submit a (2)(B) expert report. Adkins, 105

 F.4th at 849. So when the physician’s opinions are based only on the facts learned

 while treating the patient and not formed outside the time of that treatment, the

 physician is a hybrid witness. See Oetjens v. Covidien LP, 2025 WL 227261, at *7

 (E.D. Mich. Jan. 16, 2025).

       The nature of a treating physician’s job allows for an easier distinction

 between retained and non-retained expert. “It is within the normal range of duties

 for a health care provider to develop opinions regarding causation and prognosis

 during the ordinary course of an examination.” Fielden, 482 F.3d at 870 (citation

 omitted). When a doctor steps out of that context and reviews evidence beyond

 what is presented while treating the patient, the physician changes roles and

 becomes a more traditional expert witness forming causation opinions based not

 only on what was learning during treatment, but also on after-the-fact documents

 or other evidence that informs the cause of the injury or illness.

       The nature of Galinsky’s job is entirely different. She does not stop acting

 in her capacity as an EPA environmental engineer supporting an enforcement

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 action by reviewing documents obtained during litigation, even though some of

 those documents came from counsel for her employer. Thus, the treating physician

 cases are not an exact fit for Galinsky. Still, applying the principles discussed in

 the cases cited above leads to the conclusion that Galinsky did not go beyond the

 scope of her employment in reviewing case documents, including expert reports, in

 forming her opinions about the merits of the EPA’s enforcement action.

       The Court finds that Galinsky was properly designated as a (2)(C) expert for

 all three disclosures. The scope of each disclosure does not go beyond the scope of

 her employment. That Galinsky reviewed other expert reports and stated her

 opinions in opposition to those experts does not change the conclusion.

       Defendants raised a new argument at the hearing—only Galinsky’s opinions

 about matters that occurred since February 2017 would be permissible, if any of

 her opinions are permitted. This is because Galinsky became aware of a potential

 issue at EES Coke during February 2017, that is when enforcement work began.

 Were the Court to agree with Defendant, it would preclude Galinsky from opining

 on the permitting process or other events occurring before February 2017. In

 making this argument, Defendants suggested that Galinsky is just like their non-

 retained expert Eric Marko. Defendants intended to call Marko, an employee of a

 consulting firm hired by EES Coke, to testify about the 2012-2014 permitting

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 process. Marko’s employment with the consulting firm did not begin until years

 after the permits were approved. But with Marko, there was no evidence that his

 job duties involved reviewing past permitting and events surrounding permitting.

 Thus, his testimony about the history of the permitting process went beyond the

 scope of his employment.

       Galinsky is not in the same position as Marko. EPA environmental

 engineers assist the EPA in enforcement actions. This would reasonably include

 reviewing EPA permits and what occurred during the permitting process to

 understand whether the EPA indeed has a case for enforcement against a facility.

 So setting aside the fact that this argument was raised for the first time at the

 hearing, the Court finds no merit in the argument. Galinsky will not be limited

 only to matters occurring February 2017 and after.

       2.     Timeliness of Reports

       Defendants argue that the second and third disclosures are untimely because

 (1) the second disclosure, served on the deadline for rebuttal reports, is not a

 rebuttal opinion and (2) the third disclosure was filed after the rebuttal disclosure

 deadline.

       The government contends that the second disclosure is a rebuttal report

 served on the rebuttal expert disclosure deadline. Defendants disagree because the

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 substance of the report supports the government’s case in chief. (ECF No. 152,

 PageID.5390). When pressed that Galinsky expressly responds to Defendants’

 experts in the second disclosure, counsel further explained the argument—

 Defendants’ experts rebut the government’s expert, so Galinsky’s “rebuttal” to the

 rebuttals is in effect an opinion that supports the case in chief.

        The government has the better of the argument on the second disclosure.

 Rule 26(a)(2)(D)(ii) contemplates that an opinion “intended solely to contradict or

 rebut evidence on the same subject matter” as an opponent’s expert will be

 disclosed within 30 days after the opponent’s disclosure or on a date set by the

 Court. The Court set the rebuttal disclosure deadline for November 25, 2024.

 (ECF No. 113). Rebuttal reports due after Defendants’ expert reports would

 necessarily, or at least in the normal course, rebut Defendants’ experts who rebut

 Plaintiff’s experts. Galinsky purports to opine on the alleged flaws in Defendants’

 experts’ reports, which is rebuttal report content. See Telepak Networks, Inc. v.

 City of Memphis, 2014 WL 5795499, at *2 (W.D. Tenn. Nov. 6, 2014). Simply

 because Galinsky has an initial report and a rebuttal report does not convert the

 rebuttal to an initial report. At trial, she will not be permitted to testify in rebuttal

 to Defendants’ experts until Defendants’ experts have testified (absent some

 scheduling agreement). With that guardrail in place, her rebuttal in the second

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 disclosure is not converted to case-in-chief expert testimony. The second

 disclosure was properly disclosed as a rebuttal disclosure on the rebuttal report

 deadline. That said, the District Judge will be in the best position to assess whether

 Galinsky’s testimony constitutes rebuttal and can rule on objections at that time.

       As for the third disclosure, Defendants do not appear to contest that this is a

 rebuttal, but they insist that it was untimely. The third disclosure was served on

 December 20, 2024, 18 days after the Court struck Benson’s and Dr. Sahu’s

 reports and a few weeks after the rebuttal disclosure deadline. Defendants served

 their expert reports on October 7, 2024. The December 18th rebuttal opinion was

 not disclosed within 30 days of Defendants’ expert disclosures, so the third

 disclosure is untimely by application of the Federal Rules of Civil Procedure.

       The United States cites the Court’s Order striking Benson and Dr. Sahu as

 giving permission to submit a rebuttal disclosure so long as doing so would not

 impact case deadlines. (ECF No. 148, PageID.5186). In that December 2, 2024,

 Order, the Court noted that the dispositive motion deadline was February 18, 2025,

 so “Plaintiff [had] an opportunity to provide a new expert report covering the areas

 stricken” in that Order. (ECF No. 134, PageID.4766). The Court said that the

 government “should have had a contingency plan to address” the potential of

 having its experts stricken. (Id.). By acknowledging that there was time before

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 dispositive motions were due for the government to identify a witness to cover the

 loss of Benson and Sahu, the Court was not extending the government’s opening or

 rebuttal expert deadline. The government needed the Court’s permission to submit

 an expert disclosure beyond Court-created deadlines, certainly absent consent from

 Defendants.

       The third disclosure is untimely. Rule 37(c)(1) requires exclusion of an

 expert report that is not properly disclosed under Rule 26(a), unless the failure was

 substantially justified or harmless. A harmless violation “involves an honest

 mistake on the part of a party coupled with sufficient knowledge on the part of the

 other party.” Howe v. City of Akron, 801 F.3d 718, 747 (6th Cir. 2015) (internal

 quotations and citations omitted). “Substantially justified means justified to a

 degree that could satisfy a reasonable person.” Eagle v. Hurley Med. Ctr., 292

 F.R.D. 466, 481 (E.D. Mich. 2013) (internal quotations omitted). There is a five-

 factor test used to determine whether the strike the improper evidence. Those

 factors are:

                (1) the surprise to the party against whom the evidence
                would be offered; (2) the ability of that party to cure the
                surprise; (3) the extent to which allowing the evidence
                would disrupt the trial; (4) the importance of the
                evidence; and (5) the nondisclosing party’s explanation
                for its failure to disclose the evidence.


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 Burks v. Washington, 2023 WL 5228906, at *3 (E.D. Mich. Aug. 15, 2023)

 (quoting Howe v. City of Akron, 801 F.3d 718, 748 (6th Cir. 2015)).

       The government asserts that the factors weigh against exclusion of the

 disclosure. They insist that there is no surprise to Defendants, that Defendants can

 cure any surprise by deposing Galinsky, the evidence is important, and the

 government’s explanation for their failure is reasonable. (ECF No. 148,

 PageID.5198).

       Defendants insist there is surprise—the disclosure does not explain how or

 why Galinsky reached her conclusions. They argue that even if the government

 provides that information, they would be unable to adequately respond now that

 discovery is closed and dispositive motion briefing is finalized. (ECF No. 152).

       Some factors weigh in the government’s favor. Given that this issue is now

 limited to the third disclosure, and the third disclosure does not state mitigation

 opinions different from those in the second disclosure, the surprise to Defendants is

 lessened. That said, Galinsky rebuts an expert in the third disclosure unaddressed

 in her disclosures—Mr. van der Poel. Defendants have not had a chance to probe

 those rebuttal opinions. Nor does it appear that allowing testimony from the third

 disclosure would disrupt the trial. And it appears that the third disclosure is

 important to the government’s case now that Benson and Dr. Sahu have been

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 stricken, but with the second disclosure available for testimony at trial, the

 importance of the third disclosure is somewhat lessened.

       Some factors weigh in Defendants’ favor. Because of the timing of the

 disclosure and motion, Defendants cannot cure the surprise. Their only option to

 address Galinsky’s testimony is through cross-examination at trial. And the

 government does not have the most reasonable explanation for failing to disclose

 the report sooner. True, it did not know that its experts Benson and Dr. Sahu

 would be stricken until early December 2024. But nothing in the record suggests

 that Galinsky could not have included the opinions in the second disclosure rather

 than creating a third disclosure later—the experts she rebuts submitted their reports

 in October 2024. (ECF No. 149). The United States does not contend that

 Galinsky required more than 30 days to form rebuttal opinions. Their only basis

 for providing the third disclosure in late December 2024 is that their other experts

 were stricken. As the Court noted in the Order striking their reports, the

 government should not have stood idly by during conversations and litigation

 about Benson and Dr. Sahu; it should have gotten the information contained in the

 third disclosure much sooner, even if it would only serve as a back-up to its other

 experts.




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       Because there is surprise for which there is no time to cure, because the

 government has no good reason for not disclosing the opinions in the third

 disclosure sooner, and because the government has Galinsky’s first and second

 disclosures which largely cover what is addressed in the third disclosure, the third

 disclosure is STRICKEN IN PART. Given the significant overlap in the opinions

 offered, or summarized to be offered, in all three disclosures, the effect of this

 Order is to preclude Galinsky from offering testimony in rebuttal to Defendants’

 expert Mr. van der Poel. She rebuts Saini’s opinions in both the second and third

 disclosures. It would likely be incredibly difficult to parse permissive rebuttal to

 Saini if Galinsky was limited to rebuttal stated in the second disclosure because of

 the overlap between the two disclosures. And since Saini is rebutted in the second

 disclosure, Defendants cannot claim serious surprise. So only the portions of the

 third disclosure that addresses or is raised in response to van der Poel’s expert

 opinion are stricken.

       Because there is no unwarranted “surprise” from the second disclosure and

 continued rebuttal of Saini’s report, the Court will not order Galinsky to sit for a

 deposition. Defendants have enough information to prepare for Galinsky’s trial

 testimony and adequately cross-examine her.

       3.     Galinsky’s Qualification and Reliability

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        Defendants argue that Galinsky only has cursory experience with BACT

 and/or LAER analyses. (ECF No. 156, PageID.5410-11). Thus they insist that her

 opinions on BACT and/or LAER and the effect of compliance are unreliable

 because they are not based on any specialized knowledge. The United States

 contends that she is sufficiently qualified having done BACT and/or LAER

 analyses 14 times. And much like Defendants’ expert Saini, Galinsky’s job entails

 determining what BACT and/or LAER are for specific situations. (ECF No. 186,

 PageID.13372). The government says that her disclosures are detailed enough to

 explain how she reached her BACT and LAER opinions. (Id. at PageID.13375-

 76).

        Federal Rule of Evidence 702 requires the trial judge to perform a

 “gatekeeping role” when considering the admissibility of expert testimony.

 Daubert v. Merrell Dow Pharm. Inc., 509 U.S. 579, 597 (1993). The United States

 Supreme Court has established that Rule 702 requires district courts to ensure that

 expert testimony “rests on a reliable foundation and is relevant to the task at

 hand.” Id.; see also Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999)

 (expanding Daubert’s analysis of expert scientific testimony to cover expert

 testimony based on “technical” and “other specialized knowledge”). The

 gatekeeping role progresses in three steps. First, the witness must be qualified

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 according to his or her “knowledge, skill, experience, training, or education.” In re

 Scrap Metal Antitrust Litig., 527 F.3d 517, 529 (6th Cir. 2008) (quoting Fed. R.

 Evid. 702). Second, the expert’s testimony must be relevant in that it will help

 “the trier of fact to understand the evidence or to determine a fact in issue.” Id.

 Third, the testimony must be reliable. To determine whether expert testimony is

 “reliable,” the court’s role, and the offering party’s responsibility, “is to make

 certain that an expert . . . employs in the courtroom the same level of intellectual

 rigor that characterizes the practice of an expert in the relevant field.” Kumho Tire

 Co., 526 U.S. at 152. The proponent of the testimony bears the burden to prove by

 a preponderance of the evidence that the testimony is reliable. Wellman v. Norfolk

 & W. Ry. Co., 98 F. Supp. 2d 919, 923 (S.D. Ohio 2000) (citing In re Paoli R.R.

 Yard PCB Litig., 35 F.3d 717, 744 (3d Cir. 1994)). Courts need not admit opinions

 or conclusions that are “connected to existing data only by the ipse dixit of the

 expert.” See Gen. Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997).

       As explained in the earlier Order on other motions to exclude experts, “a

 proffering party can qualify their expert with reference to h[er] ‘knowledge, skill,

 experience, training or education.’” Surles ex rel. Johnson v. Greyhound Lines,

 Inc., 474 F.3d 288, 293 (6th Cir. 2007).




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       Galinsky is sufficiently qualified. She has been an environmental engineer

 in the Air Enforcement and Compliance Assurance Branch of the EPA since July

 2009. (ECF No. 186-1, PageID.13379; ECF No. 9-2, PageID.99). Her role

 involves supporting EPA enforcement actions for violations of the Clean Air Act.

 (ECF No. 9-2, PageID.100 at ¶ 5). Her job requires that she achieve emissions

 reductions at sites that are at least equivalent to BACT and/or LAER, so it is in the

 normal course for her to determine what BACT or LAER would likely be. (ECF

 No. 186-1, PageID.13380-81, at ¶ 4). In doing that work, she has “evaluated new

 and existing control technologies for appropriateness in controlling a source’s

 emissions, reviewed the RACT/BACT/LAER clearinghouse, reviewed permits to

 determine the control technologies used and limits met by other similar sources,

 reviewed state and federal regulations for relevant emission limits, communicated

 with vendors about the suitable applications for certain control technologies,”

 among other things. (Id. at PageID.13381, ¶ 4). She has conducted around 50

 New Source Review compliance investigations and has evaluated BACT and/or

 LAER for “at least” 14 facilities in her 15-year career. (Id. at PageID.13382, ¶ 7).

       All that said, in response to an interrogatory, the United States explained that

 Galinsky never personally conducted a BACT or LAER analysis for purposes of

 New Source Review permitting, but she has conducted similar analyses to

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 determine appropriate pollution control technology and emissions limits. (ECF

 No. 148-5, PageID.5238). Defendants make note of the fact that she never

 personally conducted a BACT or LAER analysis. (ECF No. 156, PageID.5416).

 This is not unusual, according to the government, because Michigan makes the

 final BACT and/or LAER determination, not the EPA or Galinsky. 3 (ECF No.

 186, PageID.13372). So that Galinsky did not personally conduct the BACT or

 LAER analyses for this case does not mean that BACT and LAER play no role in

 her usual job responsibilities.

        Defendants also note that Galinsky has no formal education or expertise

 relating to BACT and/or LAER and has authored no peer-reviewed papers relating

 to the same. (ECF No. 156, PageID.5415). While Galinsky might not have taken

 any courses on BACT or LAER analysis, her education and training as an

 environmental engineer sufficiently prepares her to determine what mitigation

 actions are necessary to bring a facility into compliance with an environmental

 statute. Moreover, because “[e]xpert opinion may be based entirely on

 experience,” Innovation Ventures, LLC v. NVE, Inc., 90 F. Supp. 3d 703, 724 (E.D.



        3
           Defendants’ expert Saini similarly has not personally conducted a BACT or LAER
 analysis yet opines on BACT and LAER here. At the hearing, Defendants defended Saini’s
 opinion by noting that he is a retained expert and retained experts can opine outside the area of
 their direct job responsibility, unlike non-retained experts. As explained here, BACT and LAER
 are not outside the scope of Galinsky’s work in supporting enforcement actions.
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 Mich. 2015), that Galinsky has authored no papers on this subject is not reason to

 disqualify her.

       In all, Galinsky’s opinions are based on her specialized knowledge as an

 environmental engineer who focuses on air quality enforcement cases. Her

 education and work experience determined what is required to bring a facility into

 compliance, i.e., BACT and/or LAER, and is sufficient to help the Court in

 assessing or weighing the evidence.

       Defendants also attack the reliability of Galinsky’s opinions because of the

 lack of analysis showing how she reached her opinions based on the materials

 reviewed. (ECF No. 156, PageID.5418-19).

       Galinsky is a non-retained expert, so her (2)(C) reports are sufficient. The

 rule requires the disclosure to give only the subject matter on which the witness

 will present evidence and “a summary of the facts and opinions to which the

 witness is expected to testify.” Fed. R. Civ. P. 26(a)(2)(C)(i-ii). Only reports

 required under (2)(b) must include a complete statement of the opinions and the

 bases for them, any exhibits that would be used, and the facts or data considered.

 Galinsky’s second disclosure satisfies Rule (2)(C).

       In summary, Defendants’ motion at ECF No. 145 to exclude Galinsky’s

 second and third disclosures is GRANTED IN PART, their motion to exclude at

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 ECF No. 156 is DENIED. Galinsky’s third disclosure is stricken as to her rebuttal

 of Mr. van der Poel’s opinions.

 B.    Defendants’ Motion to Partially Exclude the Testimony of US’s Expert Lyle
       Chinkin (ECF No. 164)

       Lyle Chinkin is the government’s “air modeling” expert. He opines on the

 impacts of EES Coke’s allegedly excessive sulfur dioxide (SO2) emissions on air

 quality. Before discussing the specifics of his opinion, brief scientific background

 is helpful to understand his opinions and the challenges to them. Sulfur dioxide is

 a “primary pollutant.” (ECF No. 164-2, PageID.6175, Chinkin Report). Primary

 pollutants react with other compounds to produce secondary pollutants such as

 sulfate PM2.5. Secondary pollutants, i.e., particulate matter, can travel long

 distances before they are removed from the atmosphere. (Id. at PageID.6176).

 Sulfur dioxide can convert to PM2.5 in a couple of hours in a hot, humid

 atmosphere. Sulfur dioxide takes longer to convert, if at all, in a cold, dry

 atmosphere. (ECF No. 164-3, PageID.6319-20, Chinkin Deposition). Inhalation

 of PM2.5 can have negative health consequences; the parties dispute what

 concentration of PM2.5 and the duration of exposure is necessary before negative

 health consequences are realized.

       Chinkin used two computer air modeling programs to demonstrate the air

 quality impacts from SO2 emissions from EES Coke—the Comprehensive Air
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 Quality Model with Extensions (“CAMx”) and the American Meteorological

 Society/Environmental Protection Agency Regulatory Model Improvement

 Committee Dispersion Model (“AERMOD”). (ECF No. 164-2, PageID.6173).

 Only his use of and opinions drawn from the CAMx program are contested.

       CAMx is a photochemical grid model that simulates emission, transport,

 diffusion, chemical transformation, and removal of gaseous and particle pollutants

 in the atmosphere. (Id. at PageID.6187). CAMx outputs are used in later analyses

 to quantify “the impact of excess SO2 emissions from EES Coke Battery on

 ambient PM2.5 concentrations in the region” surrounding the EES Coke facility.

 (Id. at PageID.6169).

       The opinions Chinkin drew from CAMx include that EES Coke’s emissions

 had local and long-range air quality impacts on PM2.5; that if EES Coke reduced

 emissions, there will be local and long-range air quality benefits; and that the

 populations impacted by the alleged excess SO2 emissions are also impacted by

 other local and regional sources. (Id. at PageID.6169-70).

       Chinkin also provided a rebuttal report containing opinions that Defendants

 characterize as new and untimely opinions that they seek to strike.

       1.     CAMx Opinions




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       Defendants argue that Chinkin’s CAMx opinions should be stricken because

 they are unreliable for four reasons: (1) the CAMx program, like other modeling

 programs, has inherent uncertainties, (2) CAMx overpredicted the PM2.5

 concentration compared to actual concentration data, (3) Chinkin did not properly

 calibrate the model, and (4) Chinkin did not validate the results despite knowing of

 the inherent uncertainties. (ECF No. 164). Some of the more specific issues that

 fall within those four categories are that Chinkin relied on 2016 meteorological

 data that lead to inaccuracies in calculating concentrations in 2019, that the Model

 Performance Evaluation he conducted to test his results was insufficient to test the

 model’s accuracy, and the differences in concentrations shown in the model were

 so small that their size led to further errors in the modeling.

       The first main argument tests the reliability of CAMx generally, not

 Chinkin’s use of the program. As mentioned, “[f]our inquiries guide the reliability

 analysis: Is the technique testable? Has it been subjected to peer review? What is

 the error rate and are there standards for lowering it? Is the technique generally

 accepted in the relevant scientific community?” United States v. Gissantaner, 990

 F.3d 457, 463 (6th Cir. 2021) (citing Daubert, 509 U.S. at 585-89).

       CAMx is a reliable air modeling program used by air quality scientists. The

 program is testable and has been peer-reviewed “extensively.” Defendants do not

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 challenge Chinkin’s statement that the program has been often used to estimate

 PM2.5 concentrations. (ECF No. 164-2, PageID.6201). Nor do Defendants

 challenge that CAMx is a generally accepted program for estimating

 concentrations of pollutants in the atmosphere. “What matters is whether the

 relevant scientific community accepts the software.” Gissantaner, 990 F.3d at 466

 (citing Daubert, 509 U.S. at 594). Once that is determined to be the case, cross-

 examination “is the place to go for accuracy.” Id. So any inherent uncertainty in

 using a modeling program can be addressed in cross-examination.

       Chinkin then needed to have “reliably applied” principles and methods to

 CAMx to satisfy Fed. R. Evid. 702. This is where Defendants’ three remaining

 areas of concern are directed.

       Defendants contend that the CAMx program overpredicted particulate

 concentrations, so it is unreliable. The purported overprediction comes to light

 when looking at the results from the Model Performance Evaluation. This

 evaluation involves comparing results using base numbers provided by the EPA

 (the results that “overpredicted” PM2.5) and results using actual concentrations

 from fixed air monitoring locations. (ECF No. 164-2, PageID.6207). Chinkin

 explains that differences between base or modeled results and actual

 concentrations does not suggest that the test is unreliable. He explains that the

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 base test calculates average air pollutant concentrations in a select area

 encompassing a 12-square-kilometer grid (the entire continental United States is

 broken down by 12-square-kilometer grids for air quality modeling). The test

 using actual numbers draws those numbers from a fixed point in different areas and

 may represent concentrations from somewhat different time periods. Thus,

 modeled outputs will never exactly match measured concentrations at an air quality

 monitor. (Id.).

       Knowing that these modeled differences will exist, the scientific community

 recommends the following error performance criteria for 24-hour PM2.5

 concentrations: a normalized mean base of less than or equal to plus-or-minus 30-

 65% and a normalized mean error of less than or equal to plus-or-minus 50-115%.

 (Id. at PageID.6208). So long as the means are within these ranges, the base case

 model is considered reliable or at least unproblematic.

        Defendants look at some of the calculations to suggest that CAMx

 overpredicted PM2.5 29 out of 30 times. (ECF No. 164, PageID.6139-40). For

 example, the observed mean of PM2.5 concentration (i.e., the actual value taken

 from a monitoring location) in Michigan in Spring was 7.6 micrograms per cubic

 meter. The mean modeled for that same time was 8.3 micrograms per cubic meter.




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 (Id. at PageID.6139). Of the 30 rows of data Defendants provided, the mean

 modeled exceeded the mean observed 29 times.

       The government points out some issues with Defendants’ argument. For one

 thing, there is more data than the 30 rows Defendants provided. (See ECF No.

 187, PageID.13404-08). But more importantly, the government tells us that the

 focus is not on whether the mean modeled equals or exceeds the mean observed.

 The focus is instead on the normalized mean bias and error data, and the numbers

 here are within the recommended ranges. (Id. at PageID.13403-04).

       The disputes about the differences in concentration and that those

 differences are within the generally accepted error rate are the kinds of issues more

 appropriately raised in cross-examination, rather than reason to strike an expert

 report. The government offered a reasonable explanation for the numbers

 Defendants suggest show unreliability. Because the error rates are within the

 norm, the Court does not find a reason to strike the testimony.

       Defendants take issue with using 2016 meteorological data to estimate PM2.5

 concentrations in 2019. According to Defendants, 2016 was the warmest year in

 an eight-year period, while 2019 was the coldest. Sulfur dioxide converts slowly,

 if at all, in cold weather. (ECF No. 164, PageID.6148-50).




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       Chinkin explained that he used meteorological data from 2016 because the

 weather that year was representative, or average, for weather from 2016 to 2021.

 (ECF No. 164-2, PageID.6216-17). Though 2019 was, on average, a cooler year

 than 2016, on average, this is less of a reliability issue and more fodder for cross-

 examination.

       Finally, Defendants note that the modeling results are “miniscule.” (ECF

 No. 164, PageID.6150). They argue that the smaller the modeled annual average

 impact of emissions, the greater the chances for uncertainty and overpredictions.

 (Id.). They note that the modeled outputs are less than the EPA’s Significant

 Impact Levels measurement, suggesting that the predicted PM2.5 concentrations

 would have no impact on health outcomes. Because of the small numbers,

 Defendants insist that Chinkin was required to compare the results to real-world

 data. (Id. at PageID.6151). The government counters that there is no safe level of

 PM2.5, so the facility’s pollution levels are not small. (ECF No. 187,

 PageID.13413).

       This final argument is not well taken. To begin, Defendants cite no support

 for the notion that the small modeled numbers lend themselves to further

 uncertainty and overprediction to such an extent that the opinion must be stricken

 as unreliable. Second, it remains unclear why the measurements having

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 purportedly little effect on air quality suggests that Chinkin’s use of CAMx was

 unreliable. Instead, these issues go to the weight of Chinkin’s opinions, not the

 reliability.

        This is not the first time some of Defendants’ arguments have been raised

 against the CAMx modeling program. In United States v. Ameren Missouri, 421 F.

 Supp. 3d 729, 786 (E.D. Mo. 2019), the EPA relied in part on Chinkin’s opinions

 drawn from CAMx results. The defendant raised arguments similar to those

 presented here to attack the reliability of Chinkin’s results. That court did not find

 the arguments persuasive.

        One of the arguments addressed was that predicted atmospheric

 concentrations of particulate matter smaller than the EPA’s Significant Impact

 Levels are meaningless. Id. at 786 (affirmed in relevant part, 9 F.4th 989 (8th

 Cir.)). The court relied on evidence in the record to explain that the Significant

 Impact Levels are used in the permitting process to determine whether creation or

 modification of a source will lease to air quality violations. Id. at 787. The court

 dispensed with this argument by noting that the EPA relies on modeled

 concentrations below the Significant Impact Level in calculating health benefits.

 Essentially, it appears that the court determined that comparison to the Significant




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 Impact Levels is not a meaningful measure of an air quality model’s accuracy or

 reliability. This Court agrees.

       Two other arguments mirror Defendants—(1) Chinkin’s use of 2011

 meteorology data as representative of other years makes the opinion unreliable and

 (2) the difference between the 12-square-kilometer grid estimates and the observed

 atmospheric levels taken from air monitors render the opinion unreliable. Id. As

 to the first of these arguments, the court agreed that the model results would have

 been more precise if the model was used to predict concentration levels for every

 year in contention. But the court found the EPA’s decision to rely on a

 representative year reasonable given the expense of running the model for every

 year. The court also noted that the defendant did not present sufficient evidence to

 show that using a representative year made the results unreliable. Id. at 788. As to

 the second, the court found more persuasive the fact that models will not perfectly

 match monitoring data, that monitors provide a measurement of air quality at its

 location while the modeling program provide average air quality concentration

 values for a 12-square-kilometer grid. Id. at 789.

       The Court’s analysis and conclusions match the Ameren court’s analysis and

 conclusions. None of the arguments Defendants presented persuasively establish

 that Chinkin’s CAMx model results are unreliable. Chinkin relied on an air quality

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 monitoring system widely used in the field of environmental science, and he used

 the model in the manner typically used. Issues with the data he chose to input or

 the results go more towards the weight to give the evidence, not the reliability of

 the evidence.

          2.    Rebuttal Opinions

          Defendants want to strike the portion of Chinkin’s rebuttal report where he

 opines on the nexus between air quality and emissions from facilities near EES

 Coke. Chinkin touched on this nexus opinion in his initial report in a section titled,

 “Analysis of Benefits from Control of Other Sources.” (ECF No. 164-2,

 PageID.6235). There, Chinkin explains that based on his AERMOD and CAMx

 modeling described in the report and the location of other sources of SO2 emissions

 in the region, he also analyzed whether emissions controls at those other sources

 would benefit the same population impacted by EES Coke’s emissions. He

 considered five other sources including the DTE Monroe Power Plant. He said,

                Based on my knowledge and experience, the
                meteorological conditions in the region, and the
                proximity of the other sources to the EES Coke Battery,
                it is highly likely that the impacted populations and
                regions overlap and that there is a nexus between the
                populations harmed by excess emissions from the EES
                Coke Battery and those that would benefit from controls
                at these other sources.

 (Id.).
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       For his rebuttal report, Chinkin ran HYSPLIT, a different modelling

 program, to support the nexus opinion and included opinions about the new

 model’s results. He wrote that he “conducted a wind trajectory analysis using the

 [HYSPLIT] model to explore whether there is a nexus between air quality impacts

 from illegal excess SO2 emissions at EES Coke Battery and air quality benefits that

 would be realized if emission controls were applied at the DTE Monroe plant.”

 (ECF No. 187-3, PageID.13578). Though included in the rebuttal report, the

 nexus opinion and HYSPLIT analysis are not offered in direct rebuttal to a defense

 expert.

       The government says that the “rebuttal” opinions (1) are disclosed in the

 initial report where Chinkin mentioned emissions from the Monroe Plant and (2)

 provide the “full scope” of the opinions. (ECF No. 187, PageID.13413).

       Rule 26(a) contemplates two kinds of expert reports that can be submitted

 after the initial report: rebuttal reports and supplemental reports. The rule defines a

 rebuttal report as one where “the evidence is intended solely to contradict or rebut

 evidence on the same subject matter identified by another party[’s]” expert. Fed.

 R. Civ. P. 26(a)(2)(D)(ii). As for supplemental reports, Rule 26(e)(1)(A) requires

 an expert to supplement their report if they learn that that the report is incomplete

 or incorrect.

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        In briefing, the government maintains that the nexus opinion is properly

 included in the rebuttal report but did not show how the nexus opinion is used to

 rebut a defense expert. Indeed, counsel for the government confirmed that the two

 experts Chinkin purports to rebut did not address a connection between heath

 outcomes from emissions at other sources. Thus, the Court cannot agree that the

 nexus opinion is a rebuttal opinion. (See ECF No. 187-3, PageID.13578-81).

        To be appropriate, then, it must be a supplement. But Chinkin is not

 supplementing an incomplete or incorrect opinion in the initial report. Instead, as

 the government says, the nexus opinion is a mere expansion on what he said in his

 initial report.

        Rule 26 contemplates that an expert may “supplement, elaborate upon, [and]

 explain” his conclusions in the report at trial. Thompson v. Doane Pet Care Co.,

 470 F.3d 1201, 1203 (6th Cir. 2006). There is a difference between elaborating on

 a fully stated and fully supported opinion written in a report and conducting a new

 analysis to provide new support for a briefly stated opinion in the initial report. To

 bring that point home, Rule 26 requires a retained expert to provide a complete

 statement of all their opinions and the bases and reasons for them. Fed. R. Civ. P.

 26(a)(2)(B)(i). The rule does not contemplate the expert adding a new basis for an

 opinion first stated in the initial report.

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       In the Court’s view, the nexus opinion and HYSPLIT discussion in the

 rebuttal report are improper additions to the rebuttal report. The HYSPLIT

 analysis should have been included in the initial report. Because it wasn’t, the

 HYSPLIT analysis and opinions flowing from it are STRICKEN.

       3.     Defendants’ Reply Brief Argument

       Defendants’ reply brief make an argument not included in the opening

 brief—Chinkin’s testimony should be stricken because he relied in part on expert

 opinion from Dr. Sahu, and Dr. Sahu’s report and testimony were stricken. Among

 Dr. Sahu’s opinions was that if EES Coke had followed BACT or LAER, it would

 have reduced its SO2 emissions by 95%. (See ECF No. 164, PageID.6142, n. 5).

 One of the three CAMx tests Chinkin ran used that 95% figure as a control case.

 (See ECF No. 187, PageID.13396).

       The government moved to strike this new argument. (ECF No. 221).

 Defendants contend that they did not have the opportunity to argue about

 Chinkin’s opinions via Dr. Sahu’s opinion before the reply because the Court had

 not yet stricken Dr. Sahu’s opinion when the reply was due. (ECF No. 234,

 PageID.16629).

       Dr. Sahu reviewed confidential settlement documents in the course of his

 work as a retained expert, so they moved to exclude the report as a whole on July

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 29, 2024. (ECF No. 120). The Court granted the motion in part on December 2,

 2024, striking Dr. Sahu’s opinion as it related to remedies but not mitigation.

 (ECF No. 134). Specifically, the Court struck Sections X through XII of Dr.

 Sahu’s report. Dr. Sahu discussed his 95%-reduction opinion beginning in Section

 XI, a section that was stricken in December 2024. 4 (See ECF No. 122-5,

 PageID.4430).

        On March 7, 2025, the Court struck Sahu’s opinion in its entirety. (ECF No.

 191). Defendants filed their timely reply four days later.

        Though the report was not stricken in its entirety until just before the reply

 was due, the portion of Dr. Sahu’s report that provides the bases for and discussion

 of the 95%-reduction opinion had been stricken since December 2024, and

 magistrate judge orders are effective upon filing unless they are stayed. The

 Court’s December 2024 Order was not stayed, so the 95% opinion was stricken

 before Defendants moved to strike Chinkin’s report. This means that they could


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           Defendants assert that the opinion was in Section VIII of Sahu’s report, the portion not
 stricken in December 2024. (ECF No. 234, PageID.16629). They are incorrect. Section VIII,
 “Emissions Data Provided to Modeling Expert,” merely explains that he provided the 95%-
 reduction figure to Chinkin for his air modeling. Dr. Sahu was careful to say that he discusses
 that figure later in the report. (ECF No. 122-5, PageID.4418). Put another way, Section VIII
 merely explains what data Sahu gave to Chinkin. This section is not a discussion of how Sahu
 reaches 95%, it is not opinion. That discussion, the analysis and opinion, come later in Sections
 XI and XII. Moreover, even if it could be said that there were ambiguity about whether the 95%
 opinion is raised in Section VIII or a later, stricken section as well, since the opinion is clearly
 addressed in the stricken sections, the argument was available to Defendants, no matter what was
 happening with Section VIII.
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 have and should have argued that striking Dr. Sahu’s 95% opinion meant that

 Chinkin’s reliance on the opinion was tainted.

       Given the timeline detailed here, Defendants have offered no good reason

 why they could not make this argument in the opening brief on Chinkin.

 Arguments raised for the first time in reply briefs are typically waived. Sanborn v.

 Parker, 629 F.3d 554, 579 (6th Cir. 2010) (holding arguments raised for first time

 in reply brief are waived); Scottsdale Ins. Co. v. Flowers, 513 F.3d 546, 553 (6th

 Cir. 2008) (same). The Court deems them waived here. The government’s motion

 to strike this argument is GRANTED.

 C.    Defendants’ Motion to Exclude US’s Expert Dr. Joel Schwartz (ECF No.
       166)

       The United States retained Dr. Joel Schwartz “to evaluate the

 particulate air pollution from the EES Coke Battery Facility, quantify the harm

 from the pollutants, identify and discuss the health impacts caused by the EES

 Coke Battery emissions, and provide a comparison of these impacts if proper

 controls are installed at the EES Coke Facility to eliminate the excess emissions.”

 (ECF No. 166-3, PageID.7862). Dr. Schwartz is an environmental epidemiologist

 and professor in the Department of Environmental Health and Epidemiology at the

 Harvard School of Public Health. (Id. at PageID.7863). The health effects of air

 pollution is a “major focus” of his research and work, which includes over 900
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 peer-reviewed papers examining air pollution and airborne particles. (Id.). His

 work “also includes atmospheric modeling of pollution, exposure modeling, and

 risk assessment and benefit-cost analysis.” (Id.).

       1.     Initial Report

       Defendants moved to strike the expert report in whole, yet at the hearing

 they confirmed that they only want the portion of his opinion addressing any health

 impacts from the EES Coke facility, the opinions on “quantitative risk

 assessment,” stricken. They are not challenging Dr. Schwartz’s opinions about

 health impacts from SO2 or PM2.5 generally.

       For his qualitative risk assessment, Dr. Schwartz used the EPA’s Benefits

 Mapping Analysis Program (“BenMAP”). There are two versions of BenMAP—

 the Community Edition and the Cloud (online) version. (ECF No. 166,

 pageID.7569). Schwartz cited the Community Edition in his initial report, but he

 used the Cloud version. (See ECF No. 166-2, PageID.7608-09).

       Among the conclusions drawn from the BenMAP modeling are that EES

 Coke’s SO2 emissions in 2019 caused 26 excess deaths and the emissions from

 2019 to 2022 caused 98 excess deaths. (ECF No. 166-3, PageID.8030). Dr.

 Schwartz also quantified health impacts from emissions.




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       BenMAP is similar to CAMx in that much of data is pre-loaded into the

 program. BenMap contains data on population, demographics, and incidence and

 prevalence rates of health outcomes that PM2.5 causes in the same 12-square-

 kilometers grids for which CAMx estimates exposure to particulate matter. The

 user will add air quality data. For his analysis, Dr. Schwartz input the CAMx data

 provided by Chinkin. The CAMx program calculated how much of EES Coke’s

 SO2 emissions converted to PM2.5, the concentration of PM2.5, and where that

 particulate matter traveled in the atmosphere. BenMAP compiles all the data and

 estimates associated health effects such as premature deaths, acute respiratory

 symptoms, asthma, and Alzheimer’s disease in the 12-square-kilometer grids.

       Defendants lodge two sets of arguments for striking Dr. Schwartz’s report.

 The first set of arguments addresses the reliability of the BenMAP program.

 Defendants argue that BenMAP is not a generally accepted tool for quantitative

 risk assessment and the data pre-loaded into the program (population and specific

 pollutants) is inaccurate. Neither of these arguments is well taken.

       Defendants insist that BenMAP is only meant to assess health benefits to a

 community if pollution controls are in place, not to assess health risks or impacts to

 a community based on the existing pollutants. This argument is a matter of

 semantics. According to the BenMAP manual, the test is designed to do what

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 Schwartz used it to do: “quantif[y] the impact of changes in air pollutant

 concentrations in terms of changes in premature mortality and morbidity in

 exposed populations; it also enables users to express those impacts in monetary

 terms.” (ECF No. 166-5, PageID.8343, BenMAP User Manual). Not only does

 the manual describe the program in terms that comports with Schwartz’s use, but

 the court in Ameren also noted that BenMAP is “a reliable and peer-reviewed EPA

 risk assessment tool.” 421 F. Supp. 3d at 787. Defendants’ citation to their

 expert, Dr. Kelly, to support the notion that this use of BenMAP is not generally

 accepted carries no weight since Dr. Kelly cites no sources herself. (See ECF No.

 166-8, PageID.8804, 8826). They point to no court finding BenMAP generally or

 Schwartz’s use specifically to be unsupported in the scientific community.

       The pre-loaded population and pollutant data does not render BenMAP an

 unreliable tool.

       The population estimates in BenMAP derive from the 2010 Census

 population counts. (ECF No. 166-5, PageID.8362; 166-2, PageID.7718). Future

 population estimates derive from a 2015 source, Woods and Poole, that estimates

 population through 2050. (ECF No. 166-5, PageID.8362). This method of

 estimating population does not account for actual changes in population, which

 leads Defendants to argue that the population projections are overpredicted. (ECF

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 No. 166, PageID.7581). The Science Advisory Board, an advisory committee to

 the EPA, issued a report about ways to improve BenMAP dated January 17, 2024.

 (ECF No. 166-9). Before discussing improvement recommendations, the report

 first recognized that “BenMAP and the TSD are essential tools in estimating the

 scale of health benefits and their associated monetary values in EPA’s regulatory

 analysis, in particular Clean Air Act regulations reducing fine particles (PM2.5)

 and ground-level ozone.” The Advisory Board discussed the population estimation

 that Defendants use to claim unreliability. The Advisory Board said that “scenario

 analysis is a more appropriate way to analyze future population, rather than making

 deterministic predictions” using Woods and Poole. (Id. at PageID.9026). The data

 for scenario analysis are freely available and transparently documented, unlike the

 Woods and Poole data which is “closed, inscrutable.” (Id.).

       Though population estimates may be more accurate using data other than

 that derived from the Woods and Poole method, the report does not suggest or

 establish that BenMAP’s reliance on the 2010 Census data and Woods and Poole

 for later years makes the program unreliable. Indeed, the Advisory Board made

 the point of noting that BenMAP was an essential tool in that kind of analysis

 despite the less-than-perfect population data in the program.




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        The second data point challenged is that BenMAP does not distinguish

 between the varieties of PM2.5 (sulfates, nitrates, nickel, lead, etc.). (ECF No. 166,

 PageID.7582). Chinkin’s CAMx modeling analyzed the chemical transformation

 of SO2 to PM2.5, and Schwartz used that as the input for air quality data. But the

 beta coefficient he used for BenMAP did not account for varying levels of toxicity

 of the different varieties of PM2.5. In other words, when Schwartz opined that there

 were around 98 premature deaths over a three-year period, those premature deaths

 are not attributed solely to SO2. 5 Because Schwartz cannot say that the 98 deaths

 are attributable to EES Coke’s emissions, Defendants insist that the opinion must

 be excluded. (ECF No. 166, PageID.7583).

        That BenMAP does not distinguish between deaths caused by one pollutant

 from another pollutant does not make the program unreliable. A court in Illinois

 addressed a nearly identical argument—that Dr. Schwartz did not consider the

 specific type of particulate matter at issue in the litigation. N.R.D.C. v. Ill. Power

 Res. Generating, LLC, 2018 WL 5777476, at *3-4 (C.D. Ill. Nov. 2, 2018). The

 court concluded that this challenge, and others like it, is about the assumptions

 made rather than the underlying methodology. “The reliability of data and



        5
          Defendants assert that Schwartz testified that “sulfate PM2.5 is not nearly as toxic as
 other specimens of PM2.5.” (Id.). In reality, he said that industry particles and biomass particles
 are “averagely toxic,” and traffic particles are “more toxic.” (ECF No. 166-2, PageID.7696).
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 assumptions used in applying a methodology is tested by the adversarial process

 and determined by the [trier of fact]; the court's [gatekeeping] role is generally

 limited to assessing the reliability of the methodology—the framework—of the

 expert’s analysis.” Id. (quoting Manpower, Inc. v. Ins. Co. of Penn., 732 F.3d 796,

 808 (7th Cir. 2013). Thus, the court admitted the expert testimony. This Court

 agrees that Defendants’ arguments about the data in BenMAP are more

 appropriately an avenue for cross-examination to attack the weight to be given to

 the results, rather than an issue with the reliability of the framework of Dr.

 Schwartz’s analysis. As stated above, “[w]hat matters is whether the relevant

 scientific community accepts the software.” Gissantaner, 990 F.3d at 466 (citing

 Daubert, 509 U.S. at 594). Once that is determined to be the case, cross-

 examination “is the place to go for accuracy.” Id.

       The second set of arguments attacks the reliability of Dr. Schwartz’s use of

 the program. The arguments are: (1) Dr. Schwartz’s opinions are not based on

 reliable principles because he used the wrong formula and cited the wrong version

 of the program, (2) the opinions are unreliable because Dr. Schwartz does not

 understand the calculations BenMAP performs, (3) Dr. Schwartz failed to review

 Chinkin’s CAMx work, and (4) Dr. Schwartz improperly extrapolated the 2019




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 results for years 2020-2022. The Court does not find any of these arguments

 persuasive.

       Dr. Schwartz did not use the wrong formula in BenMAP. During

 questioning by Defendants’ counsel, Schwartz admitted that the formula written in

 the initial report was a typo. (ECF No. 166-2, PageID.7666-67). Schwartz used

 the correct formula written in his rebuttal report for his analysis. And while Dr.

 Schwartz said in the initial report that he used the Community Edition of BenMAP,

 in fact he used the Cloud version. That he wrote the wrong version in his report

 does not make his Cloud version opinions unreliable. Defendants say their expert,

 Dr. Kelly, could not replicate Schwartz’s results using the BenMAP Community

 Edition, but point to pages of her report that do not address an inability to replicate

 results. (See. ECF No. 166-8, PageID.8832, 8846). It is unclear how an inability

 to replicate results using a version of the program Schwartz did not use would cast

 doubt on the reliability of Schwartz’s opinions—Schwartz testified that he used the

 online version, not the Community Edition.

       Defendants inflate the degree to which Dr. Schwartz does not understand

 how BenMAP works. They point to instances in which he did not know the

 answer to a few questions about the program and cite cases in which expert

 testimony was stricken because the expert could not explain underlying data. (ECF

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 No. 166, PageID.7579). The deposition excerpts Defendants cite to establish that

 Schwartz “does not understand the calculations BenMAP performs” do not show

 that Schwartz does not understand what BenMAP does, or the data BenMAP relies

 on. In the six instances in which he answered “I don’t know,” he was not

 admitting lack of knowledge of the program or underlying data, like the stricken

 experts in the cases Defendants cite. He was either admitting lack of knowledge

 about data points he did not need or were unnecessary for his purposes, or lack of

 knowledge on some relatively small aspect of the data or the program that can be

 used to attack the weight of his opinion.

        Schwartz did not review the data Chinkin used for his CAMx modeling.

 (ECF No. 166-2, PageID.7714). That is not, however, a basis to conclude that

 Schwartz’s BenMAP opinions are unreliable. This was not a case in which the

 expert reviewed no underlying data used to form his opinion. That is what

 distinguishes this case from the ones Defendants cite. 6 In Orthofix Inc. v.




        6
          Interestingly, Defendants cite a different case in support of their expert, Mr. Leahy,
 addressed below, that cuts against their position here. The case is In re Keurig Green Mountain
 Single-Serve Coffee Antitrust Litig., 2025 WL 354671, at *48 (S.D.N.Y. Jan. 30, 2025). There,
 the court suggested that it would not be problematic for an expert to rely on work from another
 expert without overseeing the other expert’s work, verifying the data behind it, or ensuring that
 the other expert’s method was properly implemented. Id. at n. 36. So in line with Defendants’
 reliance on that case, it is not inherently problematic that Dr. Schwartz did not oversee Chinkin’s
 CAMx modeling, did not verify Chinkin’s data, and did not ensure that Chinkin’s method was
 properly implemented.
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 Lemanski, the certified public accountant expert relied entirely on spreadsheets

 summarizing Orthofix’s sales average to reach conclusions on damages. 2015 WL

 129990115, at *1 (E.D. Mich. Sept. 29, 2015). The expert never reviewed the data

 underlying the spreadsheet, and declined to review underlying documents after an

 error in the spreadsheet was revealed. Id. at *4. Since the court could not have

 confidence that the opinion was based on sufficient facts or data, the opinion was

 stricken. Id. at *5. In Ask Chemicals, LP v. Computer Packages, Inc., 593 F.

 App’x 506, 510 (6th Cir. 2014), the “wholesale adoption of Plaintiff’s estimates,

 without revealing or apparently even evaluating the bases for those estimates, goes

 beyond relying on facts or data and instead cloaks unexamined assumptions in the

 authority of expert analysis.” So the court upheld striking the expert. Id. at 511.

 In both cases, the expert was provided all the information by a person connected to

 a party and based their opinion solely on reviewing that information taking it at

 face value. Here, Schwartz did not adopt wholesale unexamined assumptions from

 a party. Instead, he adopted the particulate matter concentrations from Chinkin’s

 CAMx modeling. Chinkin’s data and methodology are fully stated in his report, so

 it is not like Defendants’ cases in which the data had undergone no review before

 an expert’s adoption. Because Dr. Schwartz was not adopting wholesale untested




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 data, his failure to review the CAMx results does not diminish the reliability of his

 opinions.

       The last argument is that Schwartz improperly extrapolated BenMAP results

 for years beyond his 2019 estimates. In doing so, Schwartz failed to account for

 population changes after 2019. (ECF No. 166, PageID.7585-86). By choosing to

 extrapolate the 2019 information for later years, Defendants assert that the

 opinions about the later years are speculative. (Id. at PageID.7586). The

 government’s response is to say that, according to Schwartz, population changes in

 future years would have a de minimis impact on the number of deaths and health

 impacts, so the extrapolated estimate is reliable. (ECF No. 190, PageID.14143).

 At the hearing, the government argued that SO2 and PM2.5 have a linear

 relationship; their concentrations rise and fall together, so it is reliable to scale

 them together.

       Defendants have not persuasively shown why scaling or extrapolating 2019

 results for the next three years is so unreliable that the opinions on those years

 must be stricken. It is not as though the data supporting the opinions is entirely

 lacking a factual basis or foundation, nor does it appear that Dr. Schwartz’s method

 of extrapolation is untestable. Because the underlying methodology is reliable, the

 Court will not strike the opinions for years 2020-2022.

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       The Court is not insensitive to Defendants’ concerns, but overall their

 arguments address the weight to be given to Dr. Schwartz’s testimony, not the

 reliability of his methods. In balancing the arguments and the Court’s gatekeeper

 function, the Court is also mindful that trial is proceeding before the District Judge,

 not a jury. “The ‘gatekeeper’ doctrine was designed to protect juries and is largely

 irrelevant in the context of a bench trial.” Deal v. Hamilton Cnty. Bd. of Educ.,

 392 F.3d 840, 852 (6th Cir. 2004). There is no concern about the Court’s ability to

 parse reliable from unreliable, credible from uncredible during the trial.

       2.     Rebuttal Report

       Defendants argue that opinions regarding deaths and health impacts from

 2023 to 2028 and the related social cost in the rebuttal report should be stricken

 because they are untimely new opinions. (ECF No. 166, PageID.7587). They note

 that the initial report was limited to health impacts from 2019 to 2022. For the first

 time in the rebuttal report, Dr. Schwartz opines on likely health impacts from the

 next six years, but in doing so he is not rebutting another expert’s report. (Id. at

 PageID.7588). They also contend that extrapolating to these years is inappropriate.

 (Id.). The government says that it is not new for Dr. Schwartz to opine on the

 harm for additional years because in his initial report he said that the harm and

 associated economic impact will continue as long as Defendants omit excess

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 pollutant. (ECF No. 190, PageID.14146). It insists Schwartz was permissibly

 updating his initial opinions.

       For the same reason Chinkin’s HYSPLIT opinion in his rebuttal report was

 stricken, Dr. Schwartz’s 2023-2028 opinions are STRICKEN. As discussed

 above, “[t]he purpose of rebuttal reports is not to ‘advance new arguments or new

 evidence outside the scope of the opposing expert’s testimony.’” Ohio A. Philip

 Randolph Inst. v. Smith, 2019 WL 428371, at *2 (S.D. Ohio Feb. 4, 2019) (quoting

 Sinomax USA, Inc. v. Am. Signature Inc., 2022 WL 7180339, at *2 (S.D. Ohio

 Sept. 30, 2022)). Otherwise a party could surprise its opponent by submitting new

 opinions under the guise of a “rebuttal” that its opponent could not rebut or probe

 through discovery. The government provided no good reason why Dr. Schwartz

 did not or could not include the later years in his initial report.

       Thus, the motion to strike the initial report is DENIED, but it is GRANTED

 with respect to the additional opinions in the rebuttal report.

        3.    Motion to Strike Reply (ECF No. 221)

       Finally, the government moved to strike the portion of Defendants’ reply

 brief that argues that Schwartz’s opinions should be stricken because they rely on

 Chinkin’s CAMx data which in turn relied in part on information from Dr. Sahu.




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 (ECF No. 221). That motion was granted, above. It is GRANTED here, too, for

 the same reasons given above.

 D.    United States’ Motion to Exclude Dr. Kelly (ECF No. 165)

       Dr. Kathryn Kelly is an environmental toxicologist who provided a rebuttal

 to the United States’ expert, Dr. Schwartz’s opinions concerning the impact on

 human health from EES Coke’s emissions. The United States seeks to exclude Dr.

 Kelly as an expert based on a perceived lack of scientific support for Dr. Kelly’s

 opinions. (ECF No. 165).

       Essentially, the government argues that Dr. Kelly’s methodology and

 conclusions rest on junk science, so they are unreliable and must be stricken. It

 raises a multitude of concerns about her report, but all the contentions flow from

 this theme: “there is over two decades of consensus in the scientific community

 linking exposure of PM2.5 to these health effects. Dr. Kelly stands against this

 scientific consensus.” (ECF No. 165, PageID.7293-94, 7298-7300).

       For the reasons more fully explained below, the Court will not strike Dr.

 Kelly’s opinions. The government’s arguments more appropriately attack the

 weight to be given to the opinions rather than the reliability and admissibility of

 the opinions. But for the main contention that Dr. Kelly opposes scientific

 consensus concerning health effects of PM2.5, the government appears to

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 misinterpret Dr. Kelly’s report. They describe her report as asserting that there are

 no harmful effects from PM2.5 inhalation. As Defendants note, “[t]he scientific

 community is divided on the health impacts of minor elevations in PM2.5 levels.

 And that is the subject on which Dr. Kelly is opining.” (ECF No. 188,

 PageID.13609) (citations omitted). Dr. Kelly does not dispute that SO2 and PM2.5

 in high concentrations over a period of time could result in adverse health effects.

 (Id.).

          Given that Dr. Kelly’s report focuses on “minor” amounts of PM2.5, it is not

 as clear as the United States suggests that she contradicts scientific consensus

 through junk science. Though the government contends that PM2.5 is harmful at

 any concentration, neither the government nor Dr. Schwartz point to scientific

 studies looking specifically at the effects of SO2 emitted in the amounts alleged

 from EES Coke. Dr. Kelly, on the other hand, cites several sources calling into

 question some of the research on PM2.5. Those sources are not peer-reviewed, a

 point the government raises to show unreliability. But peer review and publication

 do “not necessarily correlate with reliability.” Daubert, 509 U.S. 593. That is why

 publication is just one of the factors courts can consider is determining reliability.

          Scientific methodology is another factor to be considered. Since peer review

 and publication are relevant but not dispositive, it is the government’s burden to

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 show why the non-peer-reviewed studies supporting Dr. Kelly, and her report

 itself, are based on unreliable methods. The government, however, did not address

 the methodology. For instance, one source that Dr. Kelly addresses, Shifting

 Sands, is a review by two toxicologists of PM2.5 research literature that documents

 biostatistical and methodological errors in PM2.5 research, including that conducted

 by Dr. Schwartz. (ECF No. 165-5, PageID.7381). Though not peer-reviewed, this

 paper is based on publicly available reports and several other research papers.

 (ECF No. 188, PageID.13603). Dr. Kelly explains that there is no peer-reviewed

 study finding significant health impacts at the small levels of PM2.5 near the

 facility. (ECF No. 188, PageID.13611). The government did persuade the Court

 that reliance on sources such as these is problematic because it has given the Court

 no cause to question the methodology in these studies.

       Defendants’ arguments against Mr. Chinkin’s and Dr. Schwartz’s opinions is

 somewhat helpful in support of Dr. Kelly’s opinions—the EPA established a

 Significant Impact Level for PM2.5 where emissions below that level do not require

 additional action from the source. (ECF No. 165-5, PageID.7365-66). EES

 Coke’s alleged PM2.5 contribution is below that amount. While recognizing that

 the Significant Impact Level is a permitting tool, not a health standard, still it is

 notable that the EPA is less concerned about EES Coke’s alleged emissions in the

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 permitting process. This suggests that Dr. Kelly’s opinions about health impacts

 from low levels of PM2.5 are perhaps not so far away from scientific consensus.

       Among the more detailed arguments is that Dr. Kelly criticizes scientific

 studies supported by universities, organizations, or government agencies. For

 instance, she considers the American Lung Association as “lobbyist,” advocating

 on behalf of one position. (ECF No. 165, PageID.7303-04). Her views on

 consensus-supporting research are not grounds to strike her report.

       The government asserts that Dr. Kelly was conclusion-driven when she

 began her work rebutting Dr. Schwartz. She did what she calls a “background

 review” on EES Coke and its SO2 emissions in December 2023, before Dr.

 Schwartz’s opinion was served during April 2024. Her review involved looking at

 the possibility of adverse effects from SO2 in general. (ECF No. 165,

 PageID.7306-07). Whether Dr. Kelly impermissibly made pre-determined

 decisions about what occurred at EES Coke and effects of the facility’s emissions

 will be best assessed by the Court during Dr. Kelly’s testimony and cross-

 examination.

       The United States relies on United States v. Ameren Missouri, 421 F. Supp.

 3d 729 (E.D. Mo. Sept. 30, 2019), in support of Chinkin’s and Schwartz’s reports.

 Defendants use Ameren to support Dr. Kelly’s report. As here, in that case the

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 United States proffered Chinkin and his CAMx conclusions and Dr. Schwartz’s

 BenMAP conclusions as expert reports. The defendant offered Dr. Valberg in

 rebuttal to Dr. Schwartz. It appears that Dr. Valberg’s discussion and conclusions

 were similar to Dr. Kelly’s. The court considered Dr. Valberg’s opinions to be the

 “minority view” contrary to the bulk of scientific literature on PM2.5. Id. at 776.

 The court found Dr. Valberg’s opinions unpersuasive against the other opposing

 expert evidence. Defendants use this case to show that courts can and do consider

 “minority view” scientific opinions.

       Although the Ameren court was not considering a motion to strike Dr.

 Valberg’s report, it is notable that the court considered their opinions.

       The United States’ quarrels with Dr. Kelly’s positions and conclusions do

 not address her methodology. Instead, the quarrels are of the kind best addressed

 through cross-examination to persuade the Court that Dr. Kelly’s opinions carry no

 weight. But Dr. Kelly’s skepticism of scientific consensus or lack of peer-

 reviewed support do not, without more, make her an unreliable expert witness.

       This motion is DENIED.

 E.    Sierra Club’s Motion to Exclude Dr. Kelly (ECF No. 158)

       Sierra Club incorporated by reference the United States’ motion to exclude

 Dr. Kelly. Sierra Club’s motion, however, focuses on Dr. Kelly’s rebuttal to its

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 expert, Dr. Gentile. The Court struck Dr. Gentile’s report. (ECF No. 259). At the

 hearing, Sierra Club raised issues about Dr. Kelly, such as that her experience as a

 toxicologist does not equip her to opine on public health or the Clean Air Act, and

 that her critique of scientific consensus is inconsistent with the EPA’s integrated

 scientific assessments program. There is no briefing on these arguments.

 According to the EPA’s website, www.epa.gov/isa, the integrated scientific

 assessments program is intended to “accurately reflect the latest scientific

 knowledge useful in indicating the kind and extent of identifiable effects on public

 health and welfare which may be expected from the presence of pollutant(s) in the

 ambient air.” https://perma.cc/VPL4-RJFM.

       The Court will not assess arguments raised for the first time at the hearing.

 The government’s motion to strike Dr. Kelly’s report and testimony was denied.

 Sierra Club’s motion to strike her report and testimony in rebuttal to Dr. Gentile is

 TERMINATED AS MOOT.

 F.    United States’ Motion to Exclude Leahy’s Opinion (ECF No. 161)

       Brian Leahy, a meteorologist, is Defendants’ air modeling expert who used

 the CAMx program Chinkin used to estimate the concentration of PM2.5

 surrounding the EES Coke facility. He is offered to rebut Chinkin’s CAMx

 opinions. The United States argues that Leahy is not qualified in air modeling and

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 his opinions are unreliable because he relied on opinions from non-testifying

 individuals to run CAMx. (ECF No. 161).

       The government argues that even if Leahy is qualified, the CAMx opinions

 should be stricken because they are not his opinions. Rather, they are the opinions

 of his colleagues Mr. Bennette and Mr. Skoglund. (ECF No. 161, PageID.5967).

 It was his colleagues who analyzed and evaluated Chinkin’s CAMx modeling.

 Defendants say there is nothing wrong with relying on facts, data, and conclusions

 of colleagues or other experts, but an expert may not simply adopt another expert’s

 opinions “wholesale.” (ECF No. 189, PageID.13850). They contend that, because

 Leahy understands the modeling inputs and independently reviewed all the data

 and methodologies underlying his report, his opinions are his own. (Id. at

 PageID.13851-52).

       The Court will address the government’s second argument first. “Using

 staff to complete tasks and gather data relevant to the expert analysis is

 appropriate.” Bledsoe v. FCA US LLC, 2022 WL 4596156, at *16 (E.D. Mich.

 Sept. 30, 2022) (citing Chavez v. Carranza, 559 F.3d 486, 497 (6th Cir. 2009)).

 But “[e]xperts are indeed not permitted to premise their opinion ‘entirely’ on other

 experts without undertaking any of the necessary steps to form their own opinion.”

 In re Flint Water Cases, 2023 WL 6147255, at *3 (E.D. Mich. Sept. 20, 2023).

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 Put another way, “expert witnesses are entitled to rely on facts, opinions and data

 developed or prepared by another so long as the expert in the end gives his or her

 own opinion instead of simply aggregating or reciting the opinions of others.” In

 re Keurig Green Mountain Single-Serve Coffee Antitrust Litig., 2025 WL 354671,

 at *48 (S.D.N.Y. Jan. 30, 2025) (citation omitted) (emphasis added).

       Defendants cite In re Keurig to support the notion that Leahy’s reliance on

 his colleagues was permissible. The Court reads the case as support for striking

 Leahy’s opinion. That court first defined the gravamen of the challenged expert’s

 opinion, then showed how that expert did not merely adopt another’s opinion,

 rather—he used the work from other experts “as a basis for his own, separate

 opinion.” Id. at *49. The same is not true here.

       The gravamen of the challenged opinion here is that errors in Chinkin’s

 CAMx methodology invalidate his opinions. For instance, the Leahy report says

 that Chinkin’s CAMx model simulations “did not account for the time-varying

 emissions at EES Coke, which inevitably must result in model prediction errors.”

 (ECF No. 189-2, PageID.13917). But to reach these opinions, Leahy’s colleagues

 did the work to analyze Chinkin’s methods. We know this because he testified that

 he asked them to “evaluate the data that was input to the model, how the

 model was used, to identify uncertainties related to the modeling, and to review the

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 results of the modeling.” (ECF No. 189-2, PageID.3935). Leahy maintains that he

 had “overall” responsibility for the work and oversaw the work, but he did not do

 any of the work himself. (ECF No. 189-3, PageID.5993). He couldn’t—he has

 never run a CAMx model. (ECF No. 161-2, PageID.5983-84). He partook in

 drafting the CAMx section in the expert report along with his colleagues, but could

 not say exactly what he wrote versus what his colleagues wrote. (Id. at

 PageID.5991). There are 20 figures included in the report. Leahy created three of

 them—all three are historical weather maps. (Id.; ECF No. 189-2, PageID.13863).

 This makes sense considering Leahy is a meteorologist. The remaining figures,

 including the CAMx-specific figures, are either taken from Chinkin’s report or

 created by Leahy’s colleagues.

       Comparing this to the expert in In re Keurig, it appears more strongly that

 Leahy aggregated or recited the opinions of his colleagues in a report he drafted

 with them. This amounts to impermissible reliance on another non-disclosed

 expert’s work or adoption of another non-disclosed expert’s opinion.

        Even if the Court found that the CAMx opinion is Leahy’s opinion, the

 Court has concern about his qualification to opine on Chinkin’s use of the CAMx

 program. In support of its argument that Leahy is unqualified, the government

 asserts that he has never run the CAMx model or any photochemical grid model.

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 (ECF No. 161, PageID.5963). Instead, he has experience with AERMOD, another

 program Chinkin ran. The government explains that AERMOD is “simplistic.”

 (Id. at PageID.5964). Unlike AERMOD, CAMx “requires particular knowledge in

 atmospheric chemistry and chemical reactions because it simulates chemical

 interactions in the atmosphere.” (Id.). Leahy is not equipped with the knowledge

 to run CAMx. The government contends that he does not have the education to

 qualify as an expert in photochemical modeling. The only chemistry class he has

 taken was in high school; he does not have education in atmospheric chemistry nor

 has he been trained in CAMx modeling. (Id. at PageID.5965). It notes instances

 during Leahy’s deposition where he incorrectly answered questions about CAMx

 inputs. (Id. at PageID.5965-67).

       Defendants insist Leahy is sufficiently qualified. He has 34 years of

 experience providing air quality impact analyses and he specializes in atmospheric

 dispersion modeling. (ECF No. 189-2, PageID.13867, Leahy Report). His

 experience with CAMx, specifically, is in overseeing and reviewing the work of

 others at his engineering firm who run CAMx models. (ECF No. 189-3,

 PageID.13927, Leahy Deposition). Defendants argue that direct experience in the

 precise subject matter at issue is unnecessary. Rather, a person is qualified as an

 expert so long as their expertise in the general field is applicable to the issues.

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 (ECF No. 189, PageID.13844-45). Thus, they argue that under Sixth Circuit

 precedent, Leahy is qualified to offer CAMx opinions even though he has never

 personally run the program. Next, they contend that Leahy’s answers to the three

 questions noted in the government’s brief are not reason to exclude him. First,

 even if his answers to those questions were incorrect, his expertise in the general

 field is sufficient. Second, his response to the question about what “normalized

 mean bias” is irrelevant because he was not opining on normalized mean bias

 figures. (Id. at PageID.13848-49).

       As Defendants note, “[a] party’s expert need not be a ‘blue ribbon

 practitioner’ or even have direct experience with the precise subject matter at

 issue” in order to testify on that issue.” Cap. Mortg. Sols., LLC v. Cincinnati Ins.

 Co., 2022 WL 16920409, at *4 (E.D. Mich. Nov. 14, 2022) (quoting Amber

 Reineck House v. City of Howell, 2021 WL 6881861, at *15 (E.D. Mich. Sept. 29,

 2021)). Here, however, Leahy has no experience with the subject matter at issue—

 CAMx modeling.

       Leahy’s experience in meteorology and general exposure to CAMx through

 his colleagues who run the program certainly give him more knowledge on CAMx

 than the average person. If he were called to testify about meteorological

 modeling or atmospheric concentrations of particulate matter generally, including

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 the existence of CAMx, he may be qualified. But the opinions at issue directly

 attack another person’s use of the model which he has no direct experience in. It

 would be like calling an outfielder in professional baseball to testify about pitching

 techniques. The outfielder knows a lot about pitching and could speak generally to

 some techniques. But if we want to know the details about finger positioning

 during the throw, arm positioning during the throw, and the like, the outfielder is

 not the qualified person, the pitcher is. See also Berry v. City of Detroit, 25 F.3d

 1342, 1350 (6th Cir. 1994).

       Given the foregoing, the motion to exclude Leahy’s expert report and

 testimony as it relates to the CAMx model is GRANTED.

 G.    Defendants’ Renewed Motion to Seal (ECF No. 269)

       Defendants moved to seal various documents and briefs earlier in the case.

 The Court denied those motions without prejudice because they did not seek a

 narrowly tailored seal in line with Shane Grp., Inc. v. Blue Cross Blue Shield of

 Mich., 825 F.3d 299, 305 (6th Cir. 2016) and Grae v. Corrections Corp. of Am., --

 F.4th --, 2025 WL 1132413 (6th Cir. Apr. 17, 2025). (ECF No. 241). Defendants

 are back before the Court with much more detailed support and far more narrowly

 tailored requests to seal portions of documents. Many of the documents they no

 longer seek to file under seal. (ECF No. 269; ECF No. 269-2).

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       The Court thoroughly explained the standards relevant to motions to seal at

 ECF No. 241 and will not repeat them here.

       The motion is GRANTED for the reasons given in the motion. Defendants

 have drastically reduced the number of documents to be sealed and the amount of

 text to be redacted in the public filings. They adequately justified the reasons for

 sealing or redacting those documents. For instance, they seek to redact settlement

 communications or references to them, and personal telephone numbers. (ECF No.

 269-2). Such sensitive and privileged information will not be given to the public.

 (ECF No. 269, PageID.17727-29).

       They also seek to keep under seal some confidential business and financial

 information. For these, Defendants have sufficiently established that disclosing the

 full content of these documents would cause competitive harm to one or more of

 the parties. (Id. at PageID.17729-32). They seek to redact only those portions

 necessary to prevent competitors from gaining a commercial advantage.

       The last category of documents addressed in the motion contain private

 information of third parties wholly unnecessary to the merits of this litigation. (Id.

 at PageID.17732-35).

       Sierra Club opposes redactions in five of the documents included in

 Defendants’ motion: (1) Defendants’ response in opposition to Sierra Club’s

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 motion for summary judgment, (2) Mr. Smith’s declaration, (3) a document

 produced in discovery, (4) amended answers and objections to the government’s

 first set of interrogatories, and (5) excerpts of Mr. Patterson’s deposition. (ECF

 No. 276). Its main concern (the only document with specific argument) is the

 opposition brief. The Court reviewed the rather limited redaction in the brief that

 is on the last two pages. (ECF No. 269-27, ECF No. 270-24). These portions

 address a party’s financial viability and market share. It is not difficult to see that

 revealing this information to the public and the party’s competitors could harm the

 party. Sierra Club’s contention that the redactions are improper lacks merit.

       IT IS SO ORDERED.

       The parties here may object to and seek review of this Order, but are

 required to file any objections within 14 days of service as provided for in Federal

 Rule of Civil Procedure 72(a) and Local Rule 72.1(d). A party may not assign as

 error any defect in this Order to which timely objection was not made. Fed. R.

 Civ. P. 72(a). Any objections are required to specify the part of the Order to which

 the party objects and state the basis of the objection. When an objection is filed to

 a magistrate judge’s ruling on a non-dispositive motion, the ruling remains in

 effect unless it is stayed by the magistrate judge or a district judge. E.D. Mich.

 Local Rule 72.2.

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 Date: June 9, 2025                    s/Curtis Ivy, Jr.
                                       Curtis Ivy, Jr.
                                       United States Magistrate Judge




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